     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 1 of 48
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 1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
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 3

 4    UNITED STATES OF AMERICA                )
                                              )
 5                                            )
      vs.                                     )
 6                                            ) No. 1:16-cr-10134-DPW
                                              )
 7    DAVID TKHILAISHVILI AND                 )
      JAMBULAT TKHILAISHVILI,                 )
 8                                            )
                            Defendants.
 9

10
      BEFORE:    THE HONORABLE DOUGLAS P. WOODLOCK
11

12
                       CONTINUATION OF SENTENCING HEARING
13

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15
                  John Joseph Moakley United States Courthouse
16                               Courtroom No. 1
                               One Courthouse Way
17                              Boston, MA 02210
                           Tuesday, December 19, 2017
18                                10:10 a.m.

19

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21                         Brenda K. Hancock, RMR, CRR
                             Official Court Reporter
22                John Joseph Moakley United States Courthouse
                                One Courthouse Way
23                               Boston, MA 02210
                                  (617)439-3214
24

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     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 2 of 48
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 1    APPEARANCES:

 2          UNITED STATES ATTORNEY'S OFFICE
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            Boston, MA 02210
 5          On behalf of The United State of America.

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            FEDERAL PUBLIC DEFENDER OFFICE
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            On behalf of the Defendant.
10

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     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 3 of 48
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 1               (The following proceedings were held in open court

 2    before the Honorable Douglas P. Woodlock, United States

 3    District Judge, United States District Court, District of

 4    Massachusetts, at the John J. Moakley United States Courthouse,

 5    One Courthouse Way, Courtroom 1, Boston, Massachusetts, on

 6    Tuesday, December 19, 2017):

 7               THE CLERK:    All rise.

 8          (The Honorable Court entered the courtroom at 10:10 a.m.)

 9               THE CLERK:    This Honorable Court is now in session.

10    Please be seated.      Criminal Action Number 16-10134, United

11    States v. Tkhilaishvili.

12               THE CLERK:    Mister Interpreter, please raise your

13    right hand.

14               (Interpreter duly sworn by the clerk)

15               THE CLERK:    Please be seated.

16               THE COURT:    Well, I want to see if I can get this back

17    on track a bit as a result of the supplemental Rule 29 motion,

18    and I guess I have to ask Mr. Cruz why it wasn't raised at an

19    earlier stage.

20               MR. CRUZ:    Your Honor, this was an issue that was

21    discussed between myself and David Tkhilaishvili sometime after

22    the jury was released and the verdict entered.          I had discussed

23    with Mr. Tkhilaishvili the pros and cons of raising the issue

24    at that point in time and also looked into it further to see if

25    it, quite frankly, had any merit.        I brought it before the
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 4 of 48
                                                                              4




 1    Court's attention because, upon review of the case record or

 2    the trial record, it became apparent to me that HMG was a

 3    separate business entity.

 4               THE COURT:    Well, but what is the con of raising it,

 5    and why it wouldn't have been clearer earlier?

 6               MR. CRUZ:    Quite frankly, your Honor, because I didn't

 7    spot that issue, and if Mr. Tkhilaishvili did and brought it to

 8    my attention I felt I was obligated at least to bring it to the

 9    Court's attention if I thought that it had some merit.

10               THE COURT:    So, Ms. Kaplan, I guess the issue for me

11    is this; that this goes to the question of whether the statute

12    itself applies, and while I understand Rule 29 to be designed

13    to encourage prompt framing of the issues here or in any

14    criminal case, I do not know why as a practical matter I should

15    not address it at this stage.       By ruling adversely to the

16    defendant, it becomes an issue framed for appeal.          You have

17    made clear your view that it is untimely.         That is one of your

18    grounds but not the only ground.        If I rule favorably to the

19    defendant, then the issue is teed up for the Court of Appeals

20    to take up if the Government chooses to cross-appeal with

21    respect to it.

22               I am not sure I see, except a kind of, I will call it

23    a wooden adherence to a time frame, a reason not to take it up

24    here.   If it were some other kind of issue that did not go

25    right to the core of whether or not federal jurisdiction is
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 5 of 48
                                                                              5




 1    proper here I might feel differently about it, but this goes to

 2    the core of it, I think.

 3                If there is anything else you want to say, I think you

 4    know where I am going, but if there is something I am missing

 5    there on that aspect of it, I would like to know.

 6                MS. KAPLAN:    No, I don't think so, your Honor, and

 7    that's why I did address it in the Government's response and I

 8    addressed the merits.

 9                THE COURT:    Right.   So, let me go to the merits of

10    this.   Why isn't it the case that with respect to Count Four

11    that this is embezzlement but it is not federal embezzlement,

12    it is embezzlement from a separate entity.         A separate entity

13    has control of these funds.        The funds may have a purpose of

14    serving the health care institution that is within the scope of

15    the federal statute, but I have some difficulty, now that it

16    has been framed.

17                Thinking about this as anything other than state fraud

18    or state embezzlement and nothing else.         So, let me understand

19    that.

20                MS. KAPLAN:    I think, your Honor, because I think what

21    strikes me, your Honor, is that this defendant set up these

22    accounts.    This isn't somebody who took a draw from an account

23    that he didn't realize was a health care benefit program.         He

24    knew that all of the money in the HMG account came from the

25    Allied Health account, which was clearly monies that were
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 6 of 48
                                                                              6




 1    earmarked as monies of a health care benefit program.

 2               THE COURT:    But were they monies of a health care

 3    benefit program?     As a practical matter, could the health care

 4    benefit program -- I understand that maybe I should not say,

 5    "As a practical matter," I should say as a structural matter

 6    the monies of the health care benefit program couldn't force

 7    HMG to give it back to them, could they, the $2,000?

 8               MS. KAPLAN:    Well, I think they could.

 9               THE COURT:    How?

10               MS. KAPLAN:    I think that what's also important is

11    that the transaction occurred -- was at the direction of David

12    Tkhilaishvili.     It happened on the same day.      He realized that

13    there wasn't enough money in the HMG account, because it was

14    solely funded by the Allied Health account, so he took the

15    money.    He caused the money, which were health care benefit

16    program monies from the Allied Health account, to be put into

17    the HMG account, to then be put into the payroll account.        So,

18    he knew that those monies were monies that he was taking from

19    Allied Health Care, which was a health care benefit program,

20    and he purposely put them in the HMG account to go into the

21    payroll account.

22               THE COURT:    Is the movement of the funds into the HMG

23    account itself fraud?      I say "fraud."    I mean embezzlement.

24               MS. KAPLAN:    Yes.

25               THE COURT:    Because that is what is charged here.      HMG
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 7 of 48
                                                                               7




 1    is there to receive monies from --

 2               MS. KAPLAN:    Allied Health.

 3               THE COURT:    -- Allied Health for its payroll.       He is

 4    in a position to make that choice.        It's a two-stage process.

 5    I understand that.      The question is whether or not the

 6    formalities of separate corporate entities make a difference

 7    here.    And so, I will break it up into two parts; the first

 8    part being a person with authority to make the transfer, which

 9    he had, I believe --

10               MS. KAPLAN:    Yes.

11               THE COURT:    -- orders the transfer to be made.      If the

12    monies from HMG had been used for appropriate payroll purposes,

13    not the one that actually took place, but appropriate payroll

14    services, that wouldn't be embezzlement, right?

15               MS. KAPLAN:    Correct.

16               THE COURT:    So, the point of embezzlement, the mode of

17    embezzlement is with H M G paying out here.

18               MS. KAPLAN:    Correct.

19               THE COURT:    And that seems to me to be state court

20    embezzlement.

21               MS. KAPLAN:    Well, no.    I think the embezzlement comes

22    when he has Allied Health transfer the monies into the HMG

23    account into the payroll account, because he knows what he's

24    doing.    He knows that the monies that he's transferring from

25    Allied Health are monies that are appropriated from a health
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 8 of 48
                                                                               8




 1    care benefit program.

 2               THE COURT:    But that is why I asked the question

 3    earlier of assume that he does make the transfer.          Assume that

 4    the transfer, just for purposes at the time of transfer it

 5    could equally be used for his special use or for a general

 6    payroll, which is the appropriate use under these circumstances

 7    for whoever does work for Allied Health.

 8               MS. KAPLAN:    Correct.

 9               THE COURT:    So, it is the payout from HMG that is the

10    embezzlement, and it is no longer within the scope of Allied

11    Health.    I guess that is my concern here.       There is a reason

12    for the formalities to be observed.        The federal criminal

13    jurisdiction does not extend generally to all sorts of

14    embezzlement that is associated with health care; it deals with

15    the particular entities themselves, I think.         And so, that is

16    why I am, now focused on it, a bit puzzled by how to treat

17    this.   Not really puzzled, but I think that it properly has to

18    be said that this particular transaction itself is not a

19    federal criminal violation.

20               MS. KAPLAN:    Well, I guess I don't agree.      I think

21    that the embezzlement occurs when he causes the money to be

22    taken out of Allied Health.       It's all in one transaction.    And

23    he takes that money and has it put into --

24               THE COURT:    That is not quite what is charged, is it?

25    What is charged is the payment to him.         You see, if what were
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 9 of 48
                                                                             9




 1    charged were embezzlement by taking money out of Allied Health

 2    and putting it into the health care, whatever it is called

 3    again, HMG, if that were charged that would be a different

 4    issue, because that is taking the money and putting it in HMG;

 5    but what is charged, as I recall, is the transfer from HMG to

 6    him.

 7               MS. KAPLAN:    I'd have to look at the indictment, but I

 8    think it is from a health care benefit program.          It's

 9    embezzlement --

10               THE COURT:    No.   I think it talks about that

11    transaction out to him, but let me go back to the --

12               MS. KAPLAN:    I don't have the indictment.

13               THE COURT:    -- the indictment here.

14                                      (Pause)

15               MS. KAPLAN:    I'm sorry.    I don't have the indictment.

16               THE COURT:    Okay.   So, let me see if I can pull it up.

17               MS. KAPLAN:    I think the language read exactly the

18    same way between Counts Three and Four.

19               THE COURT:    Right, but the transaction is different.

20                                      (Pause)

21               THE COURT:    Yes, I guess you are right, it is

22    capacious enough to deal with this.         But let's, then, go to the

23    question whether there is a charge here.         Let me just work

24    through it.    There is a charge here that is cognizable by the

25    Federal Criminal Code, and it is the decision by
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 10 of 48
                                                                           10




 1     Mr. Tkhilaishvili to transfer from -- take the money out of

 2     Allied Health and put it into the account in HMG --

 3               MS. KAPLAN:    Correct.

 4               THE COURT:    -- not the payment from HMG to him.

 5               MS. KAPLAN:    Correct.    And they stipulated at trial

 6     that Allied Health was a health care benefit program.

 7               THE COURT:    So, let me get back to this issue at

 8     trial.

 9               Assume, Mr. Cruz, that someone, Mr. Tkhilaishvili,

10     takes money out of Allied Health and puts into the payroll

11     account --

12               MR. CRUZ:    Yes, your Honor.

13               THE COURT:    -- as the first step in a scheme to get

14     the money to him personally.      Why isn't that covered?

15               MR. CRUZ:    Your Honor, I think the answer to that lies

16     in the way that the business structure was set up for both

17     Allied Health and HMG, which is that Mr. Tkhilaishvili, as the

18     Chief Operating Officer, had the ability or authorization from

19     Mr. Torosyan and the other co-owners of the business to

20     transfer money from one account, that being Allied Health, to

21     HMG.

22               THE COURT:    Could he do that with fraudulent intent?

23               MR. CRUZ:    Well, your Honor, I guess that is

24     something --

25               THE COURT:    See, here is the issue or one of the
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 11 of 48
                                                                              11




 1     issues:   There are these formalities.       The formalities should

 2     be observed.    On the other hand, if someone is directing all of

 3     this with a view toward extracting money from Allied Health for

 4     ultimately his own personal benefit and the first step of that

 5     is to exploit and manipulate these formalities by transferring

 6     it into another entity and then the other entity is going to

 7     pay him, I am not sure why that should not be within the scope

 8     of 669.   There is a transfer that can be treated as

 9     embezzlement out of Allied Health.       It would have to be out of

10     Allied Health, from my perspective, but it is a transfer out of

11     Allied Health.

12               MR. CRUZ:    Yes, your Honor.     And I think that's a

13     question of what the evidence supports in terms of

14     Mr. Tkhilaishvili's intent with regard to that transfer of

15     money, because, as I pointed out in the attachment with Granite

16     payroll records that were relevant to this transaction, not

17     only was Mr. Tkhilaishvili paid out at that point in November,

18     but several other employees of HMG were paid out, and with that

19     I guess the question is --

20               THE COURT:    Well, but if it had been them, that is

21     different, but that is not what was alleged here.          It is the

22     $2,000 payment out --

23               MR. CRUZ:    Correct.

24               THE COURT:    -- which ended up in Mr. Tkhilaishvili's

25     hands, right?
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 12 of 48
                                                                            12




 1               MR. CRUZ:    Yes.   But I guess the point I am trying to

 2     make is that the transfer of money for payroll purposes

 3     generally was authorized, and then if he chooses to pay himself

 4     $2,000 out of a separate account for HMG I agree with what the

 5     Court's saying, that could be seen as fraudulent with regard to

 6     HMG.

 7               THE COURT:    So, where else could I have gotten it

 8     wrong?   Did I charge the jury improperly with respect to this?

 9     I don't think so.     I think it was a general charge on this.      Is

10     there evidence from which a jury could find that this two-step

11     transaction was embezzlement?       I think so.    Now, things to

12     argue the other way say, "Well, he just tried to provide a

13     mechanism or conduit for payment, which is the role of HMG, to

14     pay payroll."

15               MS. KAPLAN:    Your Honor, could I just add one fact

16     that also came out at trial, which is that the clinic's, Allied

17     Health Clinic's Operating Agreement provided that no member was

18     permitted to write checks in excess of $1,000 without all of

19     the members' approval?      So, he wasn't actually authorized to be

20     transferring this money.

21               THE COURT:    That itself wouldn't be embezzlement.       It

22     has to be part of a chain that led to an embezzlement by him.

23     That is to say, if he had done that without authorization -- I

24     will take your point about a $1,000 cap on authorization --

25     that I don't think would have been an embezzlement.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 13 of 48
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 1               MS. KAPLAN:    No.    It's just another factor that went

 2     in, and I think Victor Torosyan testified that he had not given

 3     Mr. Tkhilaishvili the authorization to take that money.          So,

 4     it's just another factor that goes into the defendant's intent,

 5     I suppose.

 6               THE COURT:    Well, I am going to deny the Supplemental

 7     Motion for Judgment of Acquittal focused specifically on

 8     Count Four here.     It is a multiple-stage process that

 9     Mr. Tkhilaishvili engaged in, but the initial transfer was one

10     out of a health care benefit program with a view toward

11     embezzling from that program itself.        So, I decline to grant a

12     judgment of acquittal on that count.

13               Now, does that substantively deal with all of the

14     outstanding issues?     There is a question of forfeiture, but I

15     think that now is taken up by this; that is, there is a money

16     judgment forfeiture that flows from this.

17               MR. CRUZ:    Yes, your Honor.

18               THE COURT:    There is, in addition, Mr. Torosyan's

19     various filings claiming some sort of entitlement to particular

20     monies.   They are pretty much barebones, and I just want to be

21     sure I have dealt with the question of restitution on this.

22               Ms. Kaplan, does the $3,500 become restitution too, or

23     is it forfeiture or what?

24               MS. KAPLAN:    I think it probably will become

25     restitution, your Honor.       I think the additional monies that
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 14 of 48
                                                                               14




 1     Mr. Torosyan has requested, I don't think that they are a basis

 2     for restitution, frankly.

 3               THE COURT:    Let me just be sure I've got them out

 4     here.

 5               MS. KAPLAN:    It's the amount of monies that he put

 6     into the clinic and never got back.

 7               THE COURT:    Right.   He asked for $20,000 for

 8     December 2014 to January 2015 due to the defendant's actions.

 9     I do not see that as restitutionary in this setting.

10               MS. KAPLAN:    I don't either.

11               THE COURT:    Then he asked for $11,000 on August 2015.

12     Again, I am not sure I see that as restitution.         I guess I

13     don't see the $3,500 as restitution to him personally.           It's

14     restitution to --

15               MS. KAPLAN:    Well, it would be restitution to the

16     clinic.

17               THE COURT:    -- the clinic.

18               MS. KAPLAN:    Yes.

19               THE COURT:    Yes.    Okay.   So, I think I am simply going

20     to make that restitution in addition to forfeiture as well.

21               MR. CRUZ:    Yes, your Honor.     And, for the record, I

22     just want to note my objection to the Court's denial of the

23     supplemental Rule 29 motion, and for purposes of the record I

24     would state that the 3,500 should be parsed down to 1,500 if

25     the Court were to divorce the 2,000 that is the subject of the
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 15 of 48
                                                                            15




 1     supplemental Rule 29 from the equation.

 2                 THE COURT:    Right.   I would reformulate, obviously,

 3     the money judgment to include only $1,500 forward from Count

 4     Three, if I allowed it, but, of course, I am not going to.

 5                 MR. CRUZ:    Thank you.

 6                 THE COURT:    So, that is where it stands now for those

 7     purposes.

 8                 So, are there any other issues that we need to take up

 9     before going to the actual question of sentencing?

10                 MS. KAPLAN:    So, I just want to make sure.     It sounds

11     like you have the letter from Victor Torosyan.         Do you also

12     have the letter from his wife?

13                 THE COURT:    Yes, I do.

14                 MS. KAPLAN:    Okay.

15                 THE COURT:    The letter from Mr. Torosyan, apart from

16     claiming money, was July 8th, and the letter from Mrs. Torosyan

17     does not bear a date, but I think it came in about

18     October 16th.    Right?

19                 MS. KAPLAN:    Yes.

20                 THE COURT:    Anything else that we need to take up,

21     then?

22                 MR. CRUZ:    Your Honor, just to be clear for the

23     record, there was an overarching Rule 29 motion for Counts

24     Three and Four.

25                 THE COURT:    Right.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 16 of 48
                                                                            16




 1               MR. CRUZ:    That, I believe, argument is precluded to

 2     the extent there was a stipulation.

 3               THE COURT:    Right.

 4               MR. CRUZ:    What I would state to the Court is that the

 5     stipulation was entered into based upon the belief that the

 6     Department of Public Health certification received by the

 7     clinic was sufficient to qualify Allied Health as a health care

 8     benefits program under the statute.

 9               THE COURT:    Well, there are two parts to that.       There

10     also was a nunc pro tunc certification by the federal

11     authorities, as I recall.

12               MR. CRUZ:    Yes, your Honor, and it didn't become

13     apparent until the course of the trial that there was lack of

14     evidence, I would suggest, regarding treatments being actually

15     made to patients during the relevant time period and requests

16     for reimbursement from these insurance carriers, which I think

17     arguably was the motivation to file the Rule 29s, because that,

18     I think, is the more crucial issue, whether monies were

19     received for services rendered from these insurance carriers.

20     But I just want to state that for the record.

21               THE COURT:    Okay.    I think I understand the issue.    My

22     view is that the certification puts this entity into a position

23     of being subject to the protection of the Federal Criminal

24     Code, and the nunc pro tunc quality of it indicates when that

25     was, and it is well before these transactions.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 17 of 48
                                                                           17




 1               MS. KAPLAN:    There is one issue, your Honor, and I'm

 2     not sure that this is the time in what you are about to do

 3     next, but I thought I would bring it to the Court's attention.

 4     Since we last were before you, it has come to the Government's

 5     attention that David Tkhilaishvili has been providing

 6     information to an inmate or other inmates about Victor Torosyan

 7     such that the Watertown Police Department where Mr. Torosyan

 8     lives has now been put on notice.       I don't know what type of

 9     investigation they have commenced.       But we have seen the

10     information that Mr. Tkhilaishvili has provided, and it's all

11     the same stuff that came out at trial.        So, again, I'm just

12     bringing it to your attention.

13               THE COURT:    Well, I do not know what I should do about

14     that.   If you are saying I should consider post-verdict call it

15     retaliatory action against Mr. Torosyan as part of an

16     enhancement as to Mr. Tkhilaishvili, I would like to, of

17     course, hear from Mr. Cruz.      That may just simply open up an

18     additional dimension to this.       It is also, I suppose,

19     independently prosecutable as obstruction of justice if all of

20     the elements are met.     I think my inclination at this stage is

21     to say I am simply not going to consider that, if it's true,

22     because it will simply extend this sentencing process here, and

23     it is sufficiently divorced from the trial itself and the

24     relevant conduct at the trial that I think it is improvident to

25     review it.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 18 of 48
                                                                            18




 1               MS. KAPLAN:    Okay.

 2               MR. CRUZ:    And for the record, your Honor, this is the

 3     first that I have heard of this, so I wouldn't be prepared to

 4     respond, in any event.

 5               THE COURT:    Right.    Well, I think we have reached -- I

 6     have tried to do this in an orderly fashion, but order takes

 7     time, and I do not want to take any more time to get to this.

 8               So, back to where we were before.        With respect to

 9     David Tkhilaishvili, we are dealing with a total Offense

10     Level of 20, a Criminal History Category of X [phonetic].          That

11     leads to a guideline range of 37 to 46 months, supervised

12     release of 1 to 3 years, a fine of $1,500 to $150,000,

13     restitution that I am setting at $3,500.        That is a little

14     different from what Probation had outlined.         And there is a

15     Special Assessment of $400, $100 on each of the counts.

16               I assume we are dealing with the same set of numbers

17     here; is that correct?

18               MS. KAPLAN:    Yes, your Honor.

19               MR. CRUZ:    Your Honor, I do agree, with the caveat

20     that I will be arguing that the Court should depart to

21     Category I for various reasons cited in the memo.

22               THE COURT:    Right.    But in terms of the literal terms

23     of the guidelines, I take it there is not an objection about

24     that?

25               MR. CRUZ:    Correct.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 19 of 48
                                                                           19




 1               THE COURT:    And then, with respect to Jambulat

 2     Tkhilaishvili, we are dealing with a total Offense Level of 20,

 3     a Criminal History Category of I.       That leads to a guideline

 4     range of 33 to 41 months' incarceration, 1 to 3 years of

 5     supervised release, $1,500 to $150,000 in fine, and a Special

 6     Assessment of $200.

 7               Are we dealing with the same set of numbers?

 8               MR. TUMPOSKY:     That's correct, your Honor.

 9               THE COURT:    Okay.    So, Ms. Kaplan, I will hear you on

10     the Government's recommendation.

11               MS. KAPLAN:    Oh.    I thought I had made mine last time.

12     You want me to go through it again?

13               THE COURT:    Yes, if you will, just because we have

14     been through several iterations of the issue.

15               MS. KAPLAN:    Okay.    Taking into account the sentencing

16     factors under 3553(a), your Honor, we believe -- and we are

17     talking about David?

18               THE COURT:    David first and then Jambulat.

19               MS. KAPLAN:    Okay.    With respect to David

20     Tkhilaishvili, we believe that -- the Government recommends a

21     sentence at the high end of the sentencing guideline range, and

22     we believe this is sufficient but not greater than necessary to

23     comply with the purposes of the Sentencing Guidelines.

24               THE COURT:    Let me just ask --

25               MS. KAPLAN:    Yes.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 20 of 48
                                                                           20




 1               THE COURT:    -- you use "high end of the guidelines,"

 2     rather than a particular number.       I just don't know --

 3               MS. KAPLAN:    Forty-six months, your Honor.

 4               THE COURT:    Okay.

 5               MS. KAPLAN:    Looking at the nature and circumstances

 6     of the offense, there is no question that the crime of

 7     extortion is a serious offense.       Your Honor, you presided over

 8     the trial and you heard about the defendant's conduct with

 9     respect to the victim in this case and the threats to harm him,

10     his family, his business.       You also heard about during the

11     trial a threat -- well, I think it was during the trial -- a

12     threat to kill one of the FBI Agents.        The defendant made a

13     decision to take the law into his own hands with respect to

14     Allied Health and the victim in this case, and he should not

15     have done that.

16               Looking at this particular defendant and his

17     particular role in the offense, we believe that a sentence of

18     46 months is appropriate to address several specific concerns.

19     First, the defendant threatened the victim's family members,

20     and under Section 2B3.2 the Application Note says that if the

21     offense involved a threat to a family member of the victim an

22     upward departure may be warranted.

23               Secondly, immediately prior to the trial the defendant

24     reached out --

25               THE COURT:    But you are not asking me to make an
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 21 of 48
                                                                          21




 1     upward departure?

 2                 MS. KAPLAN:   No, no.   But that would be one of the

 3     reasons for the Government seeking a high end of the guideline

 4     sentence.

 5                 Second, immediately prior to the trial the defendant

 6     reached out to a witness in the case in direct violation of the

 7     Court's Order not to have contact with any of the witnesses.

 8     He paid this witness, which the Government views as an attempt

 9     to tamper with the witness or some sort of obstruction of

10     justice.

11                 Similarly, your Honor may recall that after that

12     occurred and during the trial the defendant again disobeyed the

13     Court's instructions and order not to have contact with any

14     witness or person connected with the case, and he approached a

15     person who had accompanied Mr. Torosyan to court and told him

16     that Mr. Torosyan was a liar.       This was yet another attempt to

17     intimidate this individual as well as get a message to the

18     individual in this case in direct contradiction of the Court's

19     Order.

20                 And, finally, as I mentioned, when the agents arrested

21     the defendant, who had been in violation of the Court's Order,

22     the defendant David Tkhilaishvili threatened to kill the

23     FBI Agent.

24                 This defendant clearly has no regard or respect for

25     the law.    The way he behaved before and during the trial
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 22 of 48
                                                                              22




 1     demonstrates as much, and your Honor heard the tapes in this

 2     case where he says he has no respect for the law and indicated

 3     that he is above the law or believes he is above the law.

 4                In the letters from the defendant's family they seem

 5     to be under the impression that this defendant funded Allied

 6     Health, when the evidence at trial was completely undisputed

 7     that Allied Health was completely funded by Victor Torosyan,

 8     and even in counsel's argument to the Court in the sentencing

 9     memo that they filed the defendant accused the victim of having

10     taken his business, a business that was entirely funded by the

11     victim.

12                The victim, as you may remember, was a man who had

13     taken David Tkhilaishvili under his wing, had loaned him money,

14     had treated him like a son, given him a ring to give to

15     Mr. Tkhilaishvili's fiancee, gave him gifts, and the defendant

16     did nothing to thank him but stole all of his life savings and

17     took loans from him that he never repaid.        He then threatened

18     to use physical violence to try and steal from him things that

19     were not his, and he left the victim in this case, a man who

20     came to this country with nothing and built up several

21     successful businesses, a shattered man and caused him great

22     emotional distress, not only to him, but, as you can see from

23     the letter from Mr. Torosyan's wife, great physical distress to

24     her as well.    And he has shown no remorse even today.          He is a

25     con man.   He uses people, and he takes things by threatening
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 23 of 48
                                                                             23




 1     people, things that are not his.

 2               The jury also heard from two other witnesses, your

 3     Honor, who were employees of Allied Health that the defendant

 4     got so angry at them he threw a table over, he went to hit

 5     Kendrick (ph) Fabrick.      And on another occasion the witnesses

 6     reported that the defendant had hit the former girlfriend,

 7     Kristina, while at work while he was in a rage.

 8               These are the reasons, your Honor, that the Government

 9     believes that a sentence at the high end of the guidelines

10     range is appropriate, it's necessary, it will promote respect

11     for the law, it will deter the defendant from engaging in

12     further criminal conduct and tell him that he cannot take the

13     law into his own hands, and that he cannot when he gets angry

14     threaten to kill people and extort them.        It will protect the

15     public from further crimes of this defendant, and it will send

16     a message that threats to cause physical harm cannot be used to

17     settle business disputes, and such conduct will be prosecuted.

18               These are the reasons, your Honor, that the Government

19     is seeking a sentence of 46 months, supervised release of

20     3 years, restitution in the amount of $3,500 to the Allied

21     Health, a Special Assessment of $400, and a fine of $1,500.

22               THE COURT:    All right.    Do you want to speak also to

23     Jambulat as well?

24               MS. KAPLAN:    Oh, sure.    Again, with respect to the

25     3553(a) factors, the Government is seeking a sentence at the
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 24 of 48
                                                                                 24




 1     high end of the guidelines range, which is 41 months.            Again,

 2     this is a crime that is extremely serious.

 3                 THE COURT:    Can I just pause on that?

 4                 MS. KAPLAN:    Yes.

 5                 THE COURT:    This is a deportable crime, right?

 6                 MS. KAPLAN:    I'm sorry?

 7                 THE COURT:    Deportable crime?

 8                 MS. KAPLAN:    Yes.   Yes, it is.

 9                 THE COURT:    He will serve the time, and then the

10     assumption is that he will be deported?

11                 MS. KAPLAN:    I believe so.    I believe so.

12                 THE COURT:    Okay.   Go ahead.

13                 MS. KAPLAN:    With respect to this particular defendant

14     and his role, in his Sentencing Memorandum Mr. Tkhilaishvili

15     tries to pin all of the responsibility on his younger brother,

16     who he claims he was just following.          But short of actually

17     writing the checks to himself and embezzling the money from

18     Allied Health, this defendant was with his brother in lockstep

19     every step along the way of this conspiracy to extort Allied

20     Health, including threatening to harm the victim, Victor

21     Torosyan.    This defendant threatened Mr. Torosyan even when his

22     brother was out of the country.         He did that on his own, not at

23     his brother's direction.      Your Honor also heard at trial about

24     threats that Jambulat Tkhilaishvili made to another witness,

25     Olga, that if she wronged him he would cut her.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 25 of 48
                                                                              25




 1               Mr. Tkhilaishvili argued that his family needs him and

 2     depends on him, but he was not thinking of his family prior to

 3     entering into this conspiracy to extort Mr. Torosyan, and he

 4     has essentially ruined Mr. Torosyan's life needlessly.

 5               We believe that a sentence of 41 months would promote

 6     respect for the law, it will deter the defendant from engaging

 7     in further criminal conduct, it will protect the public from

 8     further crimes of this defendant, and, again, it will send a

 9     message that threats to cause physical harm cannot be used to

10     settle business disputes, and this type of conduct will be

11     prosecuted.    So, we are seeking a sentence of 41 months,

12     supervised release of 3 years, a Special Assessment of $200,

13     and a fine of $15,000.

14               THE COURT:    I'm sorry.    The period of supervised

15     release is?

16               MS. KAPLAN:    Of 3 years.

17               THE COURT:    Three years.    All right.

18               So, Mr. Cruz.

19               MR. CRUZ:    Your Honor, with regard to David

20     Tkhilaishvili, I am asking the Court to consider what is at

21     this point approximately 7 months and 11 days that he has been

22     held in custody since the conclusion of the trial.          That, in

23     addition to time that he spent in custody prior to that

24     awaiting release on conditions, would equate to approximately

25     9 months or so at this point as a period of incarceration of
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 26 of 48
                                                                            26




 1     time served, followed by a period of supervised release of

 2     2 years, the first 6 months of which would be served in home

 3     confinement with electronic monitoring.

 4                I suggest to the Court that this is the appropriate

 5     sentence, first of all, because, although there is an agreement

 6     with regard to the guideline calculation, I would suggest to

 7     the Court that the Criminal History Category that is imposed

 8     should more appropriately be a Category I as opposed to a

 9     Category II.    The entirety of his criminal history is

10     encapsulated in Paragraph 57 of the Presentence Report, which

11     is one case charging multiple counts of Assault With a

12     Dangerous Weapon.     For that particular case the Probation

13     Department awards him four total criminal history points, three

14     of which are appointed under 4A1.1E.        And an argument that I

15     raise in my Sentencing Memorandum, your Honor, is that it is

16     not an appropriate reading of that particular section of the

17     Guidelines, because what the Sentencing Commission originally

18     envisioned when amending that section of the Guidelines was

19     that a person who had committed multiple offenses at different

20     times could potentially receive a windfall if sentenced for all

21     of those things on the same date.

22                In this particular case we don't have an incident or

23     multiple incidents that are separated by time or intervening

24     arrests.   What we have is one case involving multiple counts in

25     the same charging document for which he is being assessed four
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 27 of 48
                                                                             27




 1     Criminal History points.      So, I am suggesting to the Court that

 2     is not what this section of the Guidelines was geared toward

 3     addressing, and that the Court should depart to Category I

 4     under the circumstances.      This was a Continuance Without a

 5     Finding that resulted ultimately in a dismissal and no jail

 6     time.   So, to say that he is a Category II under these

 7     circumstances I would argue is somewhat overstated.          If the

 8     Court were to agree that Category I applies, then the range

 9     that would come to bear is 33 to 41 months, as opposed to 37 to

10     46 months.

11                 THE COURT:   That gets you closer to time served but

12     not much.

13                 MR. CRUZ:    Not much, your Honor, but I think that

14     there is something to be said for the floor being lowered

15     somewhat under the circumstances.

16                 THE COURT:   Well, what do I do with someone who is --

17     we use the phrase "anger management."

18                 MR. CRUZ:    Well, your Honor --

19                 THE COURT:   It is more than that.

20                 MR. CRUZ:    But I think --

21                 THE COURT:   It is part of the way in which he did

22     business.

23                 MR. CRUZ:    I think the Court has the hit the literal

24     nail on the head with regard to the reference to

25     anger-management issues.      This is a person -- and the Court has
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 28 of 48
                                                                            28




 1     at length seen the testimony of Victor Torosyan, assessed him

 2     as a witness, et cetera, and other factors that the Court heard

 3     about at trial.

 4               Also with regard to Mr. Tkhilaishvili, and as argued

 5     previously, these are two people that were very similar in

 6     terms of their personality.      These are people who talked to

 7     each other in the ways that the Court heard and that the jury

 8     heard on that tape without incident prior to that.          But at the

 9     heart of all of this is an argument over this business.

10               And the Government suggests that all of Mr. Torosyan's

11     life savings were taken.      The fact of the matter is that

12     Mr. Torosyan is still operating that business, that he has

13     opened a second business at another location and has plans to

14     open other branches.

15               THE COURT:    Not to be arch about it, but through no

16     help of Tkhilaishvili.      Is that the case?

17               MR. CRUZ:    No, I understand, your Honor.

18               THE COURT:    So, what we have is one person who

19     undertook to use illegal activity to advance his own business

20     interests and someone who, I suppose the argument is, could

21     give as good as he took but did not, and ended up relatively

22     better off than Mr. Tkhilaishvili but still not where he would

23     have wanted to be.

24               MR. CRUZ:    No, your Honor.     And, granted, we can't get

25     around the jury's finding in this case with regard to all of
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 29 of 48
                                                                                  29




 1     these counts, but I think that the Court has, again, hit on an

 2     important point, which is that Mr. Tkhilaishvili is someone

 3     whose actions I would argue can be mitigated to a certain

 4     extent, given the relationship that existed and, more

 5     importantly, given Mr. Torosyan's own actions during the course

 6     of the time that he is allegedly being threatened and that his

 7     family is being threatened.      He continues to work with Mr.

 8     Tkhilaishvili and his brother through the end of 2015.                This is

 9     months after these threats have allegedly been made.             He

10     appears with them at an opening party for the clinic, and he

11     brings his family there with absolutely no fear, I would argue

12     or suggest, of being harmed himself or having his family

13     harmed.   He allows Mr. Tkhilaishvili access to his home in

14     Mashpee after he is threatened with bodily harm and his family

15     is threatened.

16               So, I would suggest that there's some level of proof

17     there that the Court can take in order to consider mitigation

18     in this sentence, albeit there is a violation of the law that

19     the jury found, but it is not to the extent or within the

20     heartland, I would suggest, of what the Court would routinely

21     see in a case like this, where acts of physical violence are

22     proven by the Government or other factors come to bear that

23     make this a much more serious situation, still a violation of

24     the law, but a much more serious situation, and that's why I

25     think the Court should consider to a certain extent departing
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 30 of 48
                                                                          30




 1     from what the guidelines say, at least as I have described

 2     them.

 3                 In addition to that, your Honor, this is a man who has

 4     never spent a day in prison, and he has spent the last

 5     approximately 8 to 9 months in prison, and that has changed his

 6     view, as the Court as read in his statement.         This is not

 7     activity or conduct that he wants to continue or repeat in the

 8     future.   He understands the consequences that come from

 9     outbursts, if you will, because he is upset or because things

10     aren't working out with regard to his business relationships,

11     and the last thing that he wants to do is to continue to spend

12     time in jail where he is arguably not receiving -- and I

13     understand the Court has a view of what the Bureau of Prisons

14     can offer in terms of medical treatment -- but he is not

15     receiving adequate medical treatment with regard to his

16     diabetes.

17                 He is separated from his business, which is literally

18     hanging on by a thread at this point.        They've lost employees,

19     although they're still open, and the business is being run to

20     the extent possible by friends and/or his relatives who aren't

21     in a position really to do this successfully, because they were

22     never a part of it previously.

23                 In addition to that, your Honor, his relationship with

24     his fiancee is in jeopardy, because her fiancee visa would

25     expire at the end of this year unless he continues with her in
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 31 of 48
                                                                           31




 1     this process.

 2               So, there is a lot on the line here in terms of

 3     consequences of an extended period of incarceration, not the

 4     least of which is his connection to his parents, who are here

 5     in court, who rely on both him and his brother to take them to

 6     medical appointments, to see to their well-being generally, to

 7     lend them support financially, and they're on their own

 8     literally at this point, getting by as well as they can, but

 9     they are devastated by this.      And I understand that there's

10     some blame to be cast here, but he doesn't want them in that

11     position, he wants to help them.

12               And he wants the Court to know that it shouldn't worry

13     about his continuing to do these things.        This was a unique

14     situation involving a relationship with Victor Torosyan.         There

15     is no evidence in his prior criminal history that he has been

16     convicted or charged of anything like this in the past, and it

17     is a result of his and other individuals' personalities.

18               He wants the Court to be just as I know it will with

19     regard to sentencing, and he wants an opportunity to prove to

20     the Court that everything that Ms. Kaplan stated about what

21     happened pretrial -- and, your Honor, all of those things were

22     dealt with either in front of the Magistrate Judge with regard

23     to contacts with witnesses, those were all addressed in front

24     of the Magistrate Judge and shown to be, albeit not proper use

25     of judgment in paying an individual who he owed money to at
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 32 of 48
                                                                          32




 1     that particular time, but the Magistrate Judge heard all of

 2     those things and still released him.

 3               In addition to that, this issue of accusing him of

 4     wanting to kill an arresting agent, I believe that what the

 5     report said was he said, "God kill you," which, again, is part

 6     and parcel to what we have in this case, which is an emotional

 7     outburst with regard to a frustrating situation but not an

 8     actual attempt or desire to hurt anyone.        So, all of these

 9     things can be addressed under these circumstances I have

10     suggested to the Court.

11               Nine months is a long time for him, and it has been a

12     long time, through which he has literally re-thought his

13     personality and what he wants to do with his life while sitting

14     in jail and its effects and its consequences on the rest of his

15     life and the individuals whom he loves.        And he wants an

16     opportunity to prove to the Court that he can change his

17     behavior, and that if there is any contact in the future -- or

18     that there won't be any, I should suggest, any contact with

19     Mr. Torosyan whatsoever.      These are things the Court through

20     the Probation Department can monitor and assure that no one is

21     going to be in harm's way, and that he will do as he has

22     promised or suggested that he won't repeat this behavior in the

23     future.   Thank you.

24               THE COURT:    All right.    Thank you.

25               Mr. Tkhilaishvili, I will hear from you, if there is
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 33 of 48
                                                                             33




 1     something you would like to say at this point.

 2               MR. CRUZ:    Your Honor, before Mr. Tumposky starts,

 3     Mr. Tkhilaishvili just wanted me to refer to the letters that

 4     were submitted on his behalf.

 5               THE COURT:    Yes.   I have them, and I have been through

 6     them as well.

 7               MR. CRUZ:    Thank you, your Honor.

 8               THE COURT:    But this is an opportunity for him to

 9     speak directly in open court, if he chooses to.         He does not

10     have to, but he has that opportunity.

11               MR. CRUZ:    And he would rest on what has been

12     submitted as a personal statement.       Thank you.

13               THE COURT:    All right.    Thank you.

14               So, Mr. Tumposky.

15               MR. TUMPOSKY:     Yes, your Honor.    On behalf of Jambulat

16     Tkhilaishvili, I am also asking for a sentence of time served,

17     which would be approximately 8 months between the time of the

18     verdict to now and the pretrial detention, and I do that for

19     several reasons.

20               Until 2015 Mr. Tkhilaishvili was living what some

21     might describe as the classic American dream.         He came here

22     with very little.     He worked hard in not very big jobs but sort

23     of menial jobs, delivering pizzas, driving patients for a

24     dentist's office.     He was trying to do what he could to support

25     his family, to make a living, to try and better his life, and
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 34 of 48
                                                                             34




 1     this was the life that he lived from the time that he came here

 2     and until the time that he got involved with the clinic and

 3     with Mr. Torosyan.

 4               He doesn't have any record of any criminal conduct

 5     before this.    His conduct while he was on release was

 6     exemplary.    This incident that he has been convicted of really

 7     stands out as aberrant in the life that he has led since he has

 8     been in the United States, your Honor.        And so, the question is

 9     what should the Court do about what he was convicted of?

10               Now, the Government says in their presentation these

11     two, they were all in it together, there's no difference

12     between Jambulat and David.      The Court sat through the

13     testimony at trial, and I would suggest that's simply not the

14     case; that, in fact, Jambulat Tkhilaishvili was not there every

15     step of the way with his brother.       He really had no involvement

16     in the business at all, quite frankly, and stood to gain

17     nothing, the evidence showed at trial.        Even if the extortion

18     had been successful he stood to gain nothing.         He did not take

19     a single dollar in money from that business.         He didn't even

20     work there.    He was still working at the pizza place while

21     others were running the clinic.       And so, this notion that he

22     was an equal and alongside David every step of the way is

23     simply untrue.

24               So, I think the Court should take that into account,

25     understanding, yes, he has been convicted of two serious
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 35 of 48
                                                                                35




 1     crimes, and I say "serious" in that the allegations in any

 2     federal crime is serious.      But I think I have to point out,

 3     your Honor, that if Mr. Torosyan had gone to the Quincy Police

 4     Department instead of his civil lawyers or the FBI, that the

 5     sentence these two would be facing would be far different, and

 6     he could have very easily gone in this direction as a state or

 7     local offense, rather than a federal offense.         He'd probably

 8     get 6 months of probation with someone with his record and

 9     where there was no actual physical injury to the victim, and I

10     think the Court should take that into account as well.

11                He has his wife that he supports, her child.          His

12     parents who are here, they are elderly, he supports them as

13     well, or at least he was while he was out.

14                And, as the Court noted, there is a possibility of

15     deportation in this case, but it isn't certain.         It isn't

16     certain.   And so, the sentence that the Court gives will

17     actually have an impact on that.       So, the question I think the

18     Court might want to ask itself is, yes, he has done something

19     wrong, but has he forfeited his right to be here forever?              Has

20     he forfeited his right to live with his wife, to support his

21     parents and to support his wife's child forever?

22                And so, I'm asking for a sentence of time served

23     because I think it's appropriate, given his prior record, his

24     conduct on release, which is exemplary, his relative

25     involvement in the criminal case, and his family and what he
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 36 of 48
                                                                            36




 1     has tried to do positively, as the letters indicate, for his

 2     family.

 3               Now, I also want to give an alternative to the Court,

 4     if the Court feels that a sentence of time served isn't

 5     sufficient, and that is a sentence of 11 months on Count One

 6     and up to 11 months on Count Two.       A sentence of 11 months on

 7     either count, either concurrent or consecutive, would

 8     potentially, potentially protect his right to remain in the

 9     United States.    If the Court gives him more that than that, his

10     deportation is almost certain.

11               And so, I would ask the Court to consider a sentence

12     of time served or, alternatively, 11 months on Count One and

13     11 months, if necessary, on Count Two to run on and after, if

14     the Court truly believes that a longer sentence is necessary,

15     give him the opportunity, however slim it might be, when he

16     gets out to remain in the United States, continue to work hard,

17     as he was doing before, continue to support his wife and her

18     child, and continue to support his elderly parents.          Thank you.

19               THE COURT:    Thank you.    Again, I will hear from

20     Mr. Tkhilaishvili, if he wants to speak at this point.

21               MR. TUMPOSKY:     He'll rest on the letter that he

22     submitted, your Honor.

23               THE COURT:    All right.    Well, I guess I will start

24     with the larger question here, which is the potential for

25     disparity between federal embezzlement and state embezzlement.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 37 of 48
                                                                               37




 1     The Congress made a choice to include this kind of activity in

 2     the Hobbs Act and it was, I think, a considered choice, that

 3     there are certain kinds of activity that, because of their

 4     effect on interstate commerce and their character, are ones

 5     that require the attention of the Federal Government.            I am

 6     putting to one side the question now of health care violations.

 7               It is a serious offense.      It is at the same time at

 8     the crossroads of federalism, and so I do want to be sensitive

 9     to how this would be treated in the State Court as opposed to

10     in the Federal Court, not because I think there is parity, but

11     to be sure that, as a cross-check, I understand the seriousness

12     of the offense and the choice to have it here as opposed to

13     elsewhere.

14               But I start, then, with the idea of the seriousness of

15     the offense.    I think it is a very serious offense.        In the

16     case of David Tkhilaishvili it is compounded by interference

17     with a kind of business that is servicing the most vulnerable

18     and ought to be handled with great integrity.         It was not.

19     That does not appear to be his modus operandi.         Rather, it is a

20     choice to engage in business in a manner that is suffused with

21     threats of violence, which I discount to some degree as

22     cultural, but not entirely.

23               This is heartland Hobbs Act extortion, as far as I am

24     concerned.    Congress meant it.     It is my obligation to deal

25     with it in that fashion.
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 38 of 48
                                                                                 38




 1               I look at the character of the defendant, and, while I

 2     do not see here the long-range criminal activity, I do not view

 3     the previous conviction, which I will assimilate as one item

 4     intellectually as opposed to how the guidelines are treated, as

 5     being aberrant nor this being aberrant.        This is an individual

 6     who chooses to conduct his affairs with others, no matter how

 7     he conducts his affairs with his family, with others in a

 8     threatening fashion, who feels no particular obligation to

 9     comply with the law, no particular obligation to comply with

10     rules that are established by the Court, and, frankly, offers a

11     pretextual explanation for why he cannot bring himself to

12     comply.

13               In short, I find here nothing that would cause me to

14     mitigate the application of the guidelines as a framework

15     having to do with the nature and characteristics of the

16     defendant.

17               Mr. Cruz makes the point that the defendant has never

18     spent much time in jail.      Well, that is not a way to stay out

19     of jail; that is simply a way of saying that perhaps things

20     have not become as clear to him as they should have.             I have

21     considerable concern as a matter of specific deterrence

22     regarding this individual's enlargement prematurely.             It is, it

23     seems to me, very important for this defendant to understand

24     that the costs of engaging in activity like this, even with

25     someone who responds in a somewhat aggressive fashion himself
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 39 of 48
                                                                                   39




 1     but not with violence or threats of violence, cannot be

 2     countenanced, and the consequences will be severe.          That is

 3     what the guidelines here speak to, and they seem to me to be

 4     appropriate.

 5               I also look in terms of general deterrence.            There is

 6     a kind of subtext here that this is cultural, that this is just

 7     the way people talk, the way they relate kind of

 8     aggressiveness.    I do not really buy that.       What I see here is

 9     an unwillingness to accept conventions of business activity

10     that it is very important for this country to uphold and not to

11     give some special discount to someone who cannot comply with

12     those conventions.

13               I would not like to leave it as a matter of general

14     deterrence that this is the kind of thing to be winked at, or

15     ignored, or treated as if it does not belong in the Federal

16     Court.

17               I am aware of considerations having to do with the

18     prison system, a claim of difficulties in medical care.            Of

19     course, I have considered that, although, as Mr. Cruz

20     indicated, I have also come to the conclusion that the medical

21     conditions that the defendant complains of are ones that the

22     Bureau of Prisons can deal with effectively and does on a daily

23     basis.

24               I have also looked at the question of disparity.              I

25     have some sense of the range of sentences for offenses like
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 40 of 48
                                                                             40




 1     this.   I think the guidelines are a bit high for ultimately

 2     unexecuted threats in this area, and, consequently, I am going

 3     to vary from the guidelines themselves.        I am going to impose a

 4     sentence of 36 months' incarceration.        I will impose a period

 5     of 3 years of supervised release.       I am going to impose a

 6     $3,500 restitution figure.

 7               I will not impose a fine under these circumstances.

 8     It seems to me that, given the interrelationship of family and

 9     family needs, that taking a fine as well would be further

10     inflicting harm on family members who were not complicit in

11     this criminal activity.      I emphasize what I think we all

12     understand, which is to say that there are multiple victims,

13     including victims like his parents, but those are people who

14     were the collateral damage created by his activity for which he

15     is responsible, and, while some mitigation is appropriate in

16     the sentence, that is, to speak specifically to the fine, it

17     seems to me that the family members who were not directly

18     involved cannot be held hostage to the defendant's misconduct.

19               There will be a forfeiture order, money judgment

20     forfeiture order entered as well.       And there must be a Special

21     Assessment of $400 imposed.

22               There are the customary mandatory conditions of

23     supervision:    that the defendant not commit another federal,

24     state or local crime, that he not unlawfully possess a

25     controlled substance, that he refrain from any unlawful use of
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 41 of 48
                                                                               41




 1     a controlled substance, and I will require that he submit to

 2     one drug test within 15 days of his release from prison and for

 3     as many as 104 drug tests per year by Probation.          This is not

 4     someone who has a history of drug problems.         On the other hand,

 5     this is a person who has a demonstrated inability to conform

 6     his lifestyle to matters that can be productive and who could

 7     well, in my estimation, find himself leading into drug use.

 8     And so, I mean to have the Probation Office supervise that as

 9     they see fit within that range.

10                 There is an obligation that he cooperate in the

11     collection of DNA as directed by the Probation Office.

12                 In addition to the standard conditions of supervised

13     release, I am going to require him to participate in a drug

14     treatment program.     There is a certain irony involved here that

15     he chose to exploit the drug difficulties of vulnerable people.

16     It seems to me important for him to understand with some

17     particularity who those people are by participation in a drug

18     treatment program.

19                 He is obligated to pay the balance of restitution and

20     the money judgment immediately, but if he cannot pay it

21     immediately, then according to a Court-ordered repayment

22     schedule.

23                 He is prohibited from incurring any new credit charges

24     or opening additional lines of credit without the approval of

25     the Probation Office while any financial obligations are
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 42 of 48
                                                                            42




 1     outstanding.    He is obligated, while those financial

 2     obligations are outstanding, to provide any requested financial

 3     information to the Probation Office, and that may be shared

 4     with the United States Attorney's Office Financial Litigation

 5     Unit.

 6               He is specifically required not to knowingly have any

 7     contact, direct or indirect, with Mr. Torosyan and his

 8     immediate family.

 9               Turning, then, to Jambulat Tkhilaishvili, I accept the

10     argument that Mr. Tumposky has made that there is a disparity

11     in the involvement here and that he is not at the core of

12     creating this business environment that his brother, David, did

13     that falls within the heartland, as far as I am concerned, of

14     Hobbs Act extortion.     That having been said, this is serious

15     business, and he lent himself to the larger purposes of

16     extortion here, the effort to suffuse the atmosphere with

17     threat, lest the business be conducted in a way that,

18     improperly, he and his brother wanted to have it conducted.

19               I am going to impose a sentence of 18 months'

20     incarceration here on Jambulat Tkhilaishvili.         Mr. Tumposky

21     tells me it makes a difference what the length of particular

22     sentences are.    I don't know that, but what I will do is make

23     it 9 months on Count One, 9 months on Count Two.          They are

24     consecutive.    If that makes a difference, that is a matter for

25     the immigration authorities.      But that is meant, 18 months in
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 43 of 48
                                                                               43




 1     aggregate, to reflect the seriousness of the offense here.

 2               In terms of personal characteristics, I buy much of

 3     what Mr. Tumposky has said here, a hard-working man attempting

 4     to deal with a series of family dimensions that are

 5     challenging.    But he did not simply allow himself to be drawn

 6     in.   He lent himself to this activity, and that, it seems to

 7     me, is something that overcomes the particular problems or

 8     family issues that are created by that.

 9               The question of specific deterrence I think is

10     adequately addressed by the 18-month sentence here for Jambulat

11     Tkhilaishvili.    It seems to me that he has a greater sense of

12     remorse than his brother does, and it was demonstrated to me by

13     observation throughout.      But there is a general deterrence

14     that, it may be your brother, but you do not help him out in

15     Hobbs Act extortion, and others who are facing that sort of

16     thing should understand that there are consequences for a

17     choice that does help out a brother by lending yourself to

18     Hobbs Act extortion, and others who are faced with that sort of

19     thing must address it, and to understand that there is no

20     cultural-difference discount that is appropriate for this kind

21     of conduct, this kind of threat.

22               I have looked at the question of jail, prison, to see

23     whether it should inflect my judgment here.         It does not.   It

24     seems to me to be a neutral factor here.        I do recur to my

25     understanding of the range of sentences that are imposed for
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 44 of 48
                                                                                44




 1     non-executed threat cases that are Hobbs Act cases.          This seems

 2     to me to be a not-disparate sentence for someone in the

 3     position of Mr. Jambulat Tkhilaishvili.

 4               The short of it is that this is a serious offense in

 5     the Federal Court.     It is not the most serious, but it is a

 6     serious offense, not the most serious of Hobbs Act cases, but

 7     it is a serious offense, and it cannot go without substantial

 8     consequence.    The substantial consequence that I have imposed

 9     is in both cases a departure from the guidelines themselves,

10     which seem to me to be, for these circumstances, a little bit

11     severe, more than a little bit severe.        This sentence is

12     tailored to try to deal with that issue.

13               Now, turning to the specifics of supervised release

14     for Jambulat Tkhilaishvili, I am going to impose 3 years of

15     supervised release upon him as well.        It is very important that

16     he be subject to the supervision of the Court if he is not

17     deported in this case.      The question of whether he will be

18     deported is, of course, an open question.

19               He is obligated to pay a Special Assessment of $200.

20     I will not impose a fine under these circumstances.

21               Why do I use 3 years of supervised release?            Well,

22     because if he gets involved in this kind of thing again in any

23     way, he should understand that he is subject to further

24     consequences.    He has to conform himself here.

25               Part of this, of course, is the standard conditions of
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 45 of 48
                                                                              45




 1     supervised release, the mandatory ones, that he not engage in

 2     another federal, state or local crime, and that he not possess

 3     a controlled substance.      I see no reason to impose drug testing

 4     on him at this time, apart from the obligation to submit to one

 5     drug test within 15 days of release and at least two periodic

 6     drug tests thereafter.      If there appears to be some sort of

 7     problem, Probation will bring it to my attention.

 8               He is obligated to cooperate in the collection of a

 9     DNA sample, as directed by the Probation Office.

10               The standard conditions are those that are set forth

11     in the Guidelines.     I will not rehearse them again here, but

12     there is a special condition, because of his vulnerable

13     immigration status, and that is that if he is ordered deported

14     he is obligated to leave the United States and not to return

15     without the prior permission of the Secretary of the Department

16     of Homeland Security.     He is obligated to use his true name,

17     and he is prohibited from the use of any false identifying

18     information, and that includes but it is not limited to any

19     aliases, or false dates of birth, or false Social Security

20     numbers, or incorrect places of birth.

21               He is, of course, obligated to pay a Special

22     Assessment of $200.     That is due immediately.      I suspect that

23     it will be handled through a prison financial-responsibility

24     program, so I make no further conditions with respect to that.

25               I think I have been as clear as I can about my view of
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 46 of 48
                                                                           46




 1     the seriousness of this offense.       It is not something to be

 2     ignored, not something to be sloughed off by letters to the

 3     Court indicating that the defendant has seen the light in

 4     particular ways.     I have no doubt that the experience of being

 5     in custody here has been eye-opening for the defendants, but

 6     the amount of time in custody should reflect the seriousness of

 7     offense.   This set of sentences I think does that.

 8                Both of the defendants should be aware that they have

 9     a right of appeal.      They will want to consult counsel with

10     respect to that.     There has already been an indication, of

11     course, that that is possible or likely.

12                Now, are there any other conditions that the parties

13     or Probation would ask me to consider?

14                THE PROBATION OFFICER:     No, your Honor.

15                THE COURT:    Ms. Kaplan, anything?

16                MS. KAPLAN:    No, your Honor.

17                MR. CRUZ:    Your Honor, I would just ask the Court to

18     consider making a recommendation on Mr. Tkhilaishvili's

19     judgment that he be designated by the Bureau of Prisons to FMC

20     Devens, if at all possible.      It would serve two purposes,

21     including having his family accessible and dealing with his

22     medical issues.

23                THE COURT:    I think I will make the recommendation

24     with respect to Devens.      It is, as you know, a recommendation.

25     They are not required to follow it.        But the recommendation
     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 47 of 48
                                                                           47




 1     will be Fort Devens or such other facility that can attend to

 2     his medical needs and as close as possible to his parents.

 3                MR. CRUZ:    Thank you, your Honor.

 4                MR. TUMPOSKY:    And I would ask for a recommendation

 5     that he be assigned as close as possible to the Boston area,

 6     which I think would be Berlin or Danbury.

 7                THE COURT:    I will make that.    I am not going to make

 8     a Devens recommendation for him.

 9                MR. TUMPOSKY:    No.

10                THE COURT:    But I will make the general area.

11                MR. TUMPOSKY:    Thank you.

12                THE COURT:    Is there anything further that we need to

13     take up?

14                MS. KAPLAN:    No, your Honor.

15                MR. CRUZ:    No, thank you.

16                THE COURT:    All right.   Then, we will be in recess.

17     Thank you.

18                THE CLERK:    All rise.

19           (The Honorable Court exited the courtroom at 11:23 a.m.)

20             (WHEREUPON, the proceedings adjourned at 11:23 a.m.)

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     Case 1:16-cr-10134-DPW Document 203 Filed 04/30/18 Page 48 of 48
                                                                           48




 1                           C E R T I F I C A T E

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 4               I, Brenda K. Hancock, RMR, CRR and Official Court

 5     Reporter of the United States District Court, do hereby certify

 6     that the foregoing transcript constitutes, to the best of my

 7     skill and ability, a true and accurate transcription of my

 8     stenotype notes taken in the matter of United State of America

 9     v. Tkhilaishvili, et al., No. 1:16-cr-10134-DPW.

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14     Date:     04/30/18                     /s/ Brenda K. Hancock
                                             Brenda K. Hancock, RMR, CRR
15                                           Official Court Reporter

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